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            EXHIBIT 16
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                     By Email

                     Kathy L. Osborn
                     Faegre Baker Daniels
                     300 N. Meridian Street, Suite 2700
                     Indianapolis, Indiana 46204-1750

                     Re:        Document Production in MDL No. 1917

                     Dear Kathy:

                                     We are responding to the letter you sent us yesterday, on Sunday
                     afternoon, November 23, 2014. As a threshold matter, we do not understand your
                     reference to ’again" requesting our cooperation, since all of the information in your letter
                     is new to us, and you have not previously requested a list of search terms or any other
                     such information from the Plaintiffs.

                                     We are willing to work with you to minimize the delays that have resulted
                     from your client’s failure to comply with its discovery obligations. At the outset,
                     however, we must make clear to our willingness to engage in a dialogue with you on
                     these topics should not, in any way, be interpreted to suggest that we believe it is
                     appropriate for Thomson SA not to have already thought through these issues, or to have
                     undertaken and completed these tasks. Accordingly, do not include in any motions
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        Kathy L. Osborn                                                                                 2


        papers any suggestion that DAPs find your proposal an acceptable vehicle for providing
        this long-overdue discovery, or that any part of Thomson SA’s delay in completing its
        review and production is the result of its conferring with the DAPs about these issues.

                        Search terms. We are willing to provide you with suggestions for non-
        exhaustive search terms to help you identify documents responsive to Category I (the
        document requests cited in our papers relating to and comprising communications or
        meetings with competitors or co-conspirators) and Category 3 (the document requests
        cited in our papers related to the disposition of Thomson’s CRT business). We will
        compile such a list and provide them to you within a day.

                         In a similar vein, we ask that you provide the following information within
        a day. How much of the "1 .6 terabytes" you collected in imaging "entire servers"
        consists of documentary and similar files (for example, files in Word, PowerPoint or
        Excel format, and Outlook or other email files) as opposed to system files? How much
        consists of files from the period 1995-2007? And who are the custodians whose files you
        collected? It may be possible to prioritize the production based on some or all of this
        data.

                        As for your request for assistance with search terms, and as with any
        exercise involving search terms, we expect that there is information that we may not
        know but that people within Thomson SA may be able to provide you, regarding in-house
        abbreviations, terms of art, nicknames, buzz words, and the like. (Moreover, any terms
        would need to be translated to capture their French equivalents.) Our suggestions
        therefore should not be a substitute for Thomson SA’s compiling its own list of terms to
        search, in order to identify the documents it reasonably believes may be responsive to the
        document requests that fall into Categories I and 3.

                        We also note that it is our experience that, in crafting any list of search
        terms, it may be necessary to engage in several iterations, to eliminate or refine terms that
        result disproportionately in "false hits" and to capture unique terms that only become
        evident upon review of the documents. Accordingly, any suggestions regarding search
        terms would have to be without prejudice to request additional or more refined search
        terms.

                       We do not, however, agree that it makes sense, at this stage, for Thomson
        SA to engage in a document-by-document review - to which you allude in the last
        paragraph of your letter - to confirm that documents hitting search terms "are indeed
        responsive and not privileged." As for privilege, Thomson SA can conduct a simple
        review by using key screening terms and names to identify likely privileged
        communications. Otherwise, the Protective Order governing discovery in the case
        already includes a "clawback" provision permitting any party to demand the return of any
        privileged documents.
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      Kathy L. Osborn


                       As for responsiveness, we believe that, at this stage, there are any number
      of ways that Thomson SA can get comfortable with the integrity of its search terms short
      of conducting a document-by-document review. This could include spot-checks of the
      database to identify the search terms that yield the highest number of false-positives, or
      reviewing only documents that contain a small number of hits on a search that includes
      all of the terms. Otherwise, it is our position that once Thomson SA has alighted on its
      appropriate search terms, it should produce all documents that hit on those terms in the
      interests of efficiency and expediency and not insist on a document-by-document review.

                       It would, of course, be worthwhile for us to understand how the
      documents were collected, to understand if there are certain files types, custodians, date
      ranges, etc., that can be eliminated or prioritized for review. (We agree, for example, that
      the Working Data Set need not include any system, application, and other non-data
      containing tiles, to the extent those file types can be segregated from the set.) You have
      not otherwise informed us what universe of data was mined that resulted in 2.5 million
      stand-alone files of emails, nor what date ranges, and the like.

                       Concession of personal jurisdiction. Finally, with respect to documents
      that are solely related to Category 2 and do not overlap with Categories 1, 3, or 4, we
      wish to clarify that any concession of personal jurisdiction vis--vis Thomson SA would
      need to include a concession (documented in an appropriate Stipulation to be entered by
      the Court) that Thomson SA will not contest, in France or in any other country, the
      enforceability of a judgment of this Court against Thomson SA. We are working on
      appropriate language for the Stipulation. Meanwhile, please confirm your agreement in
      principle that the Stipulation as to jurisdiction will remain effective at the stage of
      enforcing this Court’s judgment.

                     We look forward to your prompt response.

                                                   Very truly yours,

                                                  /s/ Craig A. Benson

                                                   Craig A. Benson
